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A 0 245B (Rev 06/05) Sheer 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DMSION



UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                              CASE NUMBER:       8:05-cr-530-T-30EAJ
                                                              USM NUMBER:        46326-004
VS.



RIG0 SAME
a/W RIGOBERTO SAME
                                                              Defendant's Attorney: Patrick Doherty, cja.

THE DEFENDANT:

X pleaded g d t y to count(s) ONE of the Indictment.
-
- pleaded nolo contendere to count(s) which was accepted by the court
- was found ~uiltyon count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                          OFFENSE ENDED                     COUNT
                                    Conspiracy to Possess with the Intent to   December 15, 2005                  One
                                    Distribute and Distribution of 100
                                    or more Marijuana Plants


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is wnposed pursuant to the
Sentencmg Reform Act of 1984.

- The defendant has been found not guilty on count($
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until aIl fmes, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                               Date of Imposition of Sentence: November 9, 2006




                                                                               mvrfp5 STATES D TRICT JUDGFT                             I
                                                                                DATE. November 3 . 2 0 0 6
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A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:          R I G 0 SAME                                                                   Judgment - Page 3 of
Case No.:           8:05-cr-530-T-30EAJ




        After considering the advisory sentencing guiclclines and all of the factors identified in Title 18 C.S.C. $ 5
3553(a)(l)-(7), the court finds that the sentence imposed is sufiicient, but uot greater than necessarj7,to comply with
the statutory purposes of sentencing.


        The defeilcl:u~tis hereby co~mlitteclto the cnstotly of the United States Bureau of Prisoils to be inlprisollctl
for a total term of FORTY-ONE (41) MONTHS as to Count One of the Indictnlent.




 X The court ~nakesthe following recommendations to the Bureau of Prisons: The defe~ld:intsllall be placed a t FCI Miami
(FL), if possible.



X The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the Uniled States Marshal for tliis district.

          - at     a.m.1p.m. 011  -.
          - ;IS ~ioritieclt y the Uni~cdStates Marshal.


- The defendant sllall surrender for service of sentence at the institution designated by the Bureau of Prisol~s.

          - before 2 p.m. on -.
          - as notified by the United States hlarshal.
          - as notified by the Probation or Pretrial Services Office.




                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to

- at                                                                               , with a ccstified copy of' this juclg~nenr.




                                                                                           United States blarshal


                                                                                           Deputy United States Marshal
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A 0 21513 (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:          RIG0 SAME
Case No. :          8:05-cr-530-T-30EAJ
                                                           SUPERVISED RELEASE

       Upon release from inlprisonnlent, the defendant shall be on supervised release for a term of FIVE (5) YEARS
as to Count Oue of the Indict~nent.
        The defendant must report to the probation office in the district to which the del'cndant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not conunit another federal. state, or local crime. The defendant sllall not unla\+~fully
                                                                                                            possess a controlled substance.
Thc defendant shall reli-ain from any unlawful use of a con~rolledsubstance. The clefenda11~shall submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as cletermined by the court.


         The defendanl shall no1 possess :I firearm, destructivc device, or any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.


           If this judgment in~posesa fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

          The defendant must con~plywit11 the standard conditions that have been adopted by this court as well as with an); additional
          conditions on the attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete \\ rittcn rcpurt withi11the first five d a j s of each
           month;

           [he dekndant shall a n w c r truthfully all inquiries by the psobation officer and follo\v the ins~ri~ctions
                                                                                                                     of the psobation officcr;

           the defendant shall support his or her dependents and meet other family responsibili~ies;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, trining: or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in rcsidcncc or cmploynicnt;

           the defendant shall rcfra~nfrom excessive use of alcohol ~tndshall not purchasc, possess, use. distributc, or adni~nisrerany controlled
           substance or any paraphernalia relatcd to any controlled substances, except as prescribed by li physic~an;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any pcrson convicted of u
           felony, unless granted permission to do so by the probation officer;

           the defendant shall pcrniit u probation officer to visit him or her at any tinlc at Iio~iicor clss\vhcrc and shall pcrmit confiscalion of any
           contrabclncl obsel-ved in plriin view of thc probation officcr:

                                                                                                      or questioned by a 1w enforcement officcr;
           the defendant shall notify the probation officer within seventy-two hours of being :~rrcs~cd

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforccnicnt agency without the
           permission of the court; and

           as directed by the probation officer, thc defendant shall notify third pal-ties of risks tlial may bc occasioned by the defendant's criniinal record
           or personal history or characteristics and shall pcrnlit the probation officer to maltc such nolifications and to contirm rhL dcfcndunt's
           compliance with such notification rcquircment.
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A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:        R I G 0 S.4hlE                                                            Judgment - Page 4 of
Case No.:         8 :05-cr-530-T-30EAJ

                                       SPECIAL CONDITIONS OF SUI'EIIVISIOK

         The defendant shall also comply with the following additional conditions of supervised release:

         Defendant shall participate in a substance abuse program (outpatient andlor inpatient) and follow the probation officer's
         instructions regarding the implementation of this court directive. Further, rlie defendant shall be required to contribute to
         the costs of services for such treatment not to exceed an amount determined reasonable by the Probation Office's Sliding
         Scale for Substance Abuse Treatment Services. During and upon the completion of this program, the dofendant is directed
         to submi[ to random (Isiig testing, specifically tcsring for steroid usagc, among orher illicit suhsr:iuces.

         The defendant sh;~llparticipate as directed in a program of mental 11e:rlth treatment approved by the Probation Ofl'iccr.
         Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount
         determined reasonable to by Probation Officer based on ability to pay or availability of lhird party paymenr and in
         conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
         The defendant shall cooperate in the collection of DNA as directed by the probation officer.
         The mandntory druz losling provisions shall apply pursuant to the Violent Cri~nuConirol Act. The Court nurhorizes random
         drug testing for stcroicls and illicit substances not lo exceed 10-1 tests per year.
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A0 24513 (Rev 06105) Sheet 5 - Criminal h910netary Penalties (Judgment in a Criminal Case)

Defendant:         RIG0 SAME
Case No. :         8:05-cr-530-T-30EAJ

                                           CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedult. of payments on Sheet 6.
                            Assessment                            Fine                           Total Rcstitution

         Totals:            $100.00                               Waived                         N/ A


-        The determination of restitution is deferred until           .     An A~~zeilded       ill n Crimi~lalCme ( A 0 245C) will
                                                                                       Jr/clgi~w~t
         be entered after such cletermination.
-        The defendant rnus t make restitution (including co~rl~nunity
                                                                    restitution) to the following p a y s in the amount listed
         below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise in the priority order or percentage pa ment colunln below. However, pursuant to 18 U.S. C. 5
         3664(i). all non-federal victims must be paid before the dnired States.


Name of Payee                                  Tot a1 Loss"'                Restitutioii 01-tlcl-ctl             Prioritv or Percentage




         Restitution amount ordered pursuant to plea agreement $
         The defendant must pay interest on a f i e or restitution of more than $2.500, unless the restitution or fine is paid in full
         before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 36 12(t). All of the payment options on Sheet
         6 nny be subject to penalties for delinquency and default. pursuant to 18 U.S.C. 3 361 '(g).
         The courr determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          h e interest requirement is waived for the - fine              restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total mount of losses are required under Chapters 109A, 110. 110.4, and 113.4 of Title 18 for the offenses
committed on or after Sel~trinbtts13, 1994, but before April 23, 1996.
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A 0 245B (Rev 06/05) Sheet 6 - Sclletlule of Payn~ents(Judgmenl in a Criminal Case)

Dcft'nda~~:        R I G 0 SAME                                                       Judgment - Page 6of -&
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                                                   SCHEDULE OF PAYIClENTS



Having assessed rile defenda~it'sability to pay, payment of the total criminal monetary penalties are due as follows:

A.         X       Lump sum payment of $ 100.00 due immediately. balance due
                             -not later than                     , or

                             - in accordance - C, - D.                  - E or - F below: or
B.       -         Payneot to begin immediately (may be combined with -C, -D,or -F belo\v); or
C.       -         Payment in equal                   (e.g., weekly. monthly. quarterly) install~llentsof S            over a
                   period of          (e.g . , months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this judgment; or
D.       -         Payment in equal                (e.g . . weekly. monthly. quarterly) installments of S              over a
                   period of
                                , (e.g., ~nonthsor years) to comnence                       (e.g. 30 or 60 days) after release
                   from imprisonment to a term of supervision: or
E.       -       Paynient during the term of supervised release will co~nmencewithin                         (e.g., 30 or
                 60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
         the defendant s ability to pay at that time, or
F.       -         Special instructions regarding the payment of crinlinal monetary penalties:



Unless the court has expressly ordered otherwise, if this judgment imposes inlprisonmrnr, pnyinent of criminal monetary
 enalties is due during ~mprison~nent. All criminal monetary penal ties, except those payments made through the Federal
iureau of Prisons' lnlnate Financial Responsibility Program, are made to the clerk of the court.
Tlie defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-         Joint and Several
        Defendant and Co-Defendant Na~nesand Case Numbers (including defendant number): Total Amount, Joint and
Several Amount, a~ldcorresponding payee, if appropriate:

X
-         The defendant shall forfeit the defendant's interest in the following property to the United States:
       Tlie Court orders that the defendmt forfeit to the United States i~nmediatelyand voluntarily any and all assets and
properly, or portions thereof', subject to forfeiture, which are in the possessio~i or control of h e defendant or the
defendant's nomi~lees. The Court makes final the preliminary order of forfeiture and makes it part of this judg~nent.
Paynlenls shall be applied in the following order: ( I ) assessment, (2) restitutiorl principal, (3) resritu~ioninterest, (4) fmt: principal,
(5) fine interest, (6) co~nnlunityrestitution. (7) penalties, and (8) costs, including cosl of prosecution and court costs.
